    Appellate Case: 21-1414     Document: 90   Date Filed: 04/18/2022    Page: 1




                              No. 21-1414 & No. 22-1027
                IN THE UNITED STATES COURT OF APPEALS
                        FOR THE TENTH CIRCUIT

                    JANE DOES 1-11, and JOHN DOES 1, 3-7,
                            Plaintiffs-Appellants,

                                         v.

    THE BOARD OF REGENTS OF THE UNIVERSITY OF COLORADO, et al.,
                       Defendants-Appellees.

                  On Appeal from the United States District Court
                          For the District of Colorado
                     The Honorable Judge Raymond P. Moore
                          D.C. 1:21-cv-02637-RM-KMT

               DEFENDANTS-APPELLEES’ RESPONSE BRIEF
                     (Oral Argument is not Requested)

PHILIP J. WEISER                               HERMINE KALLMAN*
Attorney General                               Special Assistant Attorney General
JACQUELYNN RICH FREDERICKS*                    University of Colorado
First Assistant Attorney General               Office of University Counsel
KATHLEEN SPALDING*                             1800 Grant St., Suite 700
Senior Assistant Attorney General              Denver, CO 80203
GRANT T. SULLIVAN*                             Tel: 303 860-5691
Assistant Solicitor General                    hermine.kallman@cu.edu
MEGAN PARIS RUNDLET*
Senior Assistant Solicitor General             MATTHEW J. SMITH*
1300 Broadway, 10th Floor                      GREGORY GOLDBERG*
Denver, Colorado 80203                         Holland & Hart, LLP
Tel: (720) 508-6000                            555 17th Street, Suite 3200
kit.spalding@coag.gov;                         Denver, CO 80202
jacquelynn.richfredericks@coag.gov;            Tel: (303) 295-8000
grant.sullivan@coag.gov;                       mjsmith@hollandhart.com
megan.rundlet@coag.gov                         ggoldberg@hollandhart.com

                                               *Counsel of Record
      Appellate Case: 21-1414                Document: 90            Date Filed: 04/18/2022                Page: 2



                                         TABLE OF CONTENTS


STATEMENT OF RELATED CASES (10th Cir. R. 28.2(C)(3)) ............................1
PRELIMINARY STATEMENT ...............................................................................1

JURISDICTIONAL STATEMENT ..........................................................................4

STATEMENT OF THE ISSUES PRESENTED .......................................................6

STATEMENT OF THE CASE ..................................................................................6
STANDARDS OF REVIEW .....................................................................................8

    I.       Standards Governing Appellate Review of Preliminary Injunctions .........8
    II.      Mootness Standard .....................................................................................9
    III.     Preliminary Injunction Standard .............................................................10

BACKGROUND .....................................................................................................11

    I.       COVID-19 ................................................................................................11

    II.      COVID-19 Vaccines ................................................................................12
    III.     The September 1 and September 24 Policies ...........................................14
    IV.      The September 24 Policy & Employees...................................................17
    V.       The September 24 Policy & Students.......................................................21

ARGUMENT ...........................................................................................................23
    I.       Plaintiffs’ request for injunctive relief related to the September 1 Policy
             is moot. .....................................................................................................23

    II.      Plaintiffs are unlikely to succeed on the merits........................................26

             A. The court properly applied rational basis review. ...............................26
                  1. The September 24 Policy is neutral on its face and as applied. .....27
                                            ii
      Appellate Case: 21-1414              Document: 90           Date Filed: 04/18/2022            Page: 3



                                       TABLE OF CONTENTS

                  2. The September 24 Policy is generally applicable. .........................32

             B. The September 24 Policy survives rational basis review....................35

             C. The September 24 Policy also satisfies strict scrutiny. .......................39
    III. Plaintiffs cannot establish irreparable harm. .............................................42

    IV. The balance of harms and public interest weigh strongly in favor of
        denying the relief requested by Plaintiffs. ................................................43
CONCLUSION ........................................................................................................45

CERTIFICATE OF COMPLIANCE .......................................................................47
CERTIFICATE OF SERVICE ................................................................................48




                                                        iii
      Appellate Case: 21-1414              Document: 90           Date Filed: 04/18/2022             Page: 4


                                     TABLE OF AUTHORITIES

                                                                                                           Page(s)

Cases

Abdulhaseeb v. Calbone,
  600 F.3d 1301 (10th Cir. 2010) .............................................................................9

Am. Concrete Agric. Pipe Ass’n v. no-Joint Concrete Pipe Co.,
 331 F.2d 706 (9th Cir. 1964)..................................................................................5

Am.’s Frontline Doctors v. Wilcox,
 2021 WL 4546923 (C.D. Cal. July 30, 2021) ......................................................36

Austin v. U. S. Navy Seals 1-26,
  2022 WL 882559 (U.S. Mar. 25, 2022) ...............................................................41

Beltronics USA, Inc. v. Midwest Inventory Distrib., LLC,
  562 F.3d 1067 (10th Cir. 2009) ...........................................................................10

Biden v. Missouri,
  142 S. Ct. 647 (2022) ...........................................................................................16

Boy Scouts of Am. v. Dale,
  530 U.S. 640 (2000) ...............................................................................................8

Brumfiel v. U.S. Bank,
  2013 WL 12246738 (D. Colo. May 16, 2013)...................................................4, 5

Caddo Nation of Okla. v. Wichita & Affiliated Tribes,
  877 F.3d 1171 (10th Cir. 2017) .............................................................................6

Church v. Polis,
  2020 WL 9257251 (10th Cir. Dec. 23, 2020) ......................................................39

Church of the Lukumi Babalu Aye, Inc. v. City of Hialeah,
  508 U.S. 520 (1993) ................................................................................ 27, 28, 30
Denver Bible Church v. Azar,
  494 F. Supp. 3d 816 (D. Colo. 2020) ...................................................................38

                                                         iv
      Appellate Case: 21-1414              Document: 90           Date Filed: 04/18/2022            Page: 5


                                    TABLE OF AUTHORITIES

Dixon v. De Blasio,
  2021 WL 4750187 (E.D.N.Y. Oct. 12, 2021) ......................................................36

Dixon v. DeBlasio,
  2022 WL 961191 (2d Cir. March 28, 2022) ........................................................36

Doe v. San Diego Unified Sch. Dist.,
  19 F.4th 1173 (9th Cir. 2021) ..................................................... 29, 30, 32, 33, 36

Does 1-6 v. Mills,
  16 F.4th 20 (1st Cir. 2021) ...................................................................... 28, 33, 36

Edwards v. California,
  314 U.S. 160 (1941) .............................................................................................39

Emp. Div. v. Smith,
  494 U.S. 872 (1990) ...................................................................................... 26, 27

Fish v. Kobach,
  840 F.3d 710 (10th Cir. 2016) ...................................................................... 10, 43
Fleming v. Gutierrez,
  785 F.3d 442 (10th Cir. 2015) ...............................................................................6
Free the Nipple Fort Collins v. City of Fort Collins,
  916 F.3d 792 (10th Cir. 2019) ...............................................................................8
Fulton v. City of Philadelphia,
  141 S. Ct. 1868 (2021) .................................................................................. 28, 33

Harris v. Univ. of Mass., Lowell,
 2021 WL 3848012 (D. Mass. Aug. 27, 2021) .....................................................36
Kane v. De Blasio,
  19 F.4th 152 (2d Cir. 2021)........................................................................... 35, 36

Klaassen v. Trs. Of Ind. Univ.,
  549 F. Supp. 3d 836 (N.D. Ind. July 18, 2021)............................................. 29, 36



                                                         v
      Appellate Case: 21-1414              Document: 90           Date Filed: 04/18/2022             Page: 6


                                     TABLE OF AUTHORITIES

Marshall v. United States,
 414 U.S. 417 (1974) .............................................................................................38
McAlpine v. Thompson,
 187 F.3d 1213 (10th Cir. 1999) .............................................................................9

Mrs. Field’s Franchising, LLC v. MFGPC,
 941 F.3d 1221 (10th Cir. 2019) .......................................................... 8, 11, 26, 31

N.M. Dep’t of Game & Fish v. U.S. Dep’t of the Interior,
  854 F.3d 1236 (10th Cir. 2017) .......................................................................3, 38

Nken v. Holder,
  566 U.S. 418 (2009) .............................................................................................43

O’Shea v. Littleton,
  414 U.S. 488 (1974) ...............................................................................................9

Prairie Band of Potawatomi Indians v. Pierce,
  253 F.3d 1234 (10th Cir. 2001) ...........................................................................42

Rezaq v. Nalley,
  677 F.3d 1001 (10th Cir. 2012) .............................................................................9

Rio Grande Silvery Minnow v. Bureau of Reclamation,
  601 F.3d 1096 (10th Cir. 2010) ...................................................... 5, 9, 23, 25, 26

Sch. Bd. of Nassau Cnty. v. Arline,
  480 U.S. 273 (1987) .............................................................................................38

Schrier v. Univ. of Colo.,
  427 F.3d 1253 (10th Cir. 2005) .................................................................... 10, 37

Shrum v. City of Cowetta,
  449 F.3d 1132 (10th Cir. 2006) ...........................................................................31

Slidewaters LLC v. Wash. State Dep’t of Lab. & Indus.,
   4 F.4th 747 (9th Cir. 2021) ..................................................................................36
                                                         vi
      Appellate Case: 21-1414               Document: 90           Date Filed: 04/18/2022              Page: 7


                                     TABLE OF AUTHORITIES



South Bay United Pentecostal Church v. Newsom,
  141 S. Ct. 716 (2021) ...........................................................................................30

U.S. Navy Seals 1-26 v. Biden,
  2022 WL 594375 (5th Cir. 2022) ........................................................................41

Valdez v. Grisham,
  2021 WL 4145746 (D.N.M. Sept. 13, 2021) .......................................................36

We The Patriots USA, Inc. v. Hochul,
 17 F.4th 266 (2d Cir. 2021)..................................................................... 27, 36, 43

Wyoming v. U.S. Dep’t of Agric.,
 414 F.3d 1207 (10th Cir. 2005) .......................................................................... 10

Regulations
6 Colo. Code Regs. § 1011-1:2-12.2 .......................................................................14

42 C.F.R. § 482.42 ...................................................................................................16
Rules

10th Cir. R. 28.2(C)(3) ...............................................................................................1
Other Authorities

https://www.cuanschutz.edu/coronavirus/updates#ac-chancellors-message-masks-
   boosters-campus-protocols-testing-feb-28-2022-0,
   last visited Apr. 18, 2022 .............................................................................. 14, 22




                                                         vii
    Appellate Case: 21-1414     Document: 90     Date Filed: 04/18/2022    Page: 8




                      STATEMENT OF RELATED CASES
                           (10th Cir. R. 28.2(C)(3))

      This is a consolidated appeal from the denial of two preliminary injunction

motions by the U.S. District Court. The Court consolidated Plaintiffs’ first appeal,

Case No. 21-1414, into Plaintiffs’ second appeal, Case No. 22-1027 (Doc. No.

010110640819).

                         PRELIMINARY STATEMENT

      During the height of the ongoing, deadly COVID-19 global pandemic,

seventeen University of Colorado Anschutz Medical Campus (the “University”)

employees and students asked the District Court to relieve them from the need to

comply with the University’s COVID-19 Vaccination Policy #3012 (the

“September 24 Policy”). That policy allows employees to request a religious

exemption and allows employees and students to request a medical exemption. At

the same time, any person with patient treatment responsibilities (such as doctors

and nurses) or whose job duties or coursework require in-person interaction with

others on campus must take the vaccine to safeguard patient, provider, student, and

community health and safety. If someone is unable or unwilling to take the

vaccine—for either a religious or a medical reason—they are not permitted to work

in facilities with medical patients. Here, each Plaintiff requested religious

exemption from the September 24 Policy’s vaccination requirement.
    Appellate Case: 21-1414    Document: 90     Date Filed: 04/18/2022    Page: 9




      Under the September 24 Policy, the University carefully considered whether

each employee-Plaintiff could be accommodated without undue hardship to the

health, safety, and welfare of patients, other employees, and students, and thus, to

the University. The University accommodated six Plaintiffs: Jane Does 4 and 6 and

John Does 3, 5, and 7 were all granted religious accommodations for remote work,

and John Doe 4 was granted a religious accommodation that permits him to work

fully isolated on campus. Jane Does 2 1 and 9 2 separated from the University prior

to the implementation of the September 24 Policy, and neither was reviewed under

that policy. After briefing in the District Court, Jane Doe 7 took the vaccine.

Ultimately, five employee-Plaintiffs could not be accommodated due to undue




1
  Because Jane Doe 2 separated from the University prior to the implementation of
the September 24 Policy, she was not reviewed under that policy. If the University
were to review Dr. Jane Doe 2 under the September 24 Policy, it is unlikely to find
that she could perform the necessary in-person core patient care duties as a
pediatric anesthesiologist while unvaccinated without creating an undue hardship
to the University. Indeed, the University delineated that precise reasoning in its
denial of Dr. Jane Doe 2’s accommodation request under the September 1 Policy.
App.Vol. VI 1280-81.
2
  On September 20, 2021, Jane Doe 9 was terminated (effective October 2, 2021)
due to her decision to come to the Anschutz Campus unmasked and unvaccinated
contrary to University policy. App.Vol. VI 1279, 1282-83, 1383; Op. Br. at 27.
Thus, Jane Doe 9’s own conduct led to her termination before she could be
reevaluated under the September 24 Policy.
                                         2
   Appellate Case: 21-1414     Document: 90     Date Filed: 04/18/2022    Page: 10




hardship to the University, and three student-Plaintiffs are ineligible for a religious

exemption considering the scope of Title VII of the Civil Rights Act of 1964.

      Dr. Jane Doe 1 and John Doe 1 also challenge the District Court’s denial of

their request to enjoin the University’s prior vaccination policy, effective

September 1, 2021 (the “September 1 Policy”), which was in place for roughly

three weeks before it was superseded by the September 24 Policy. Plaintiffs filed

their initial Complaint five days after the September 24 Policy was implemented.

      On appeal, Plaintiffs argue facts and evidence that were not before the

District Court when it denied Plaintiffs’ motions for preliminary injunction. The

Court must disregard this newly offered evidence in determining whether the

District Court abused its discretion. See N.M. Dep’t of Game & Fish v. U.S. Dep’t

of the Interior, 854 F.3d 1236, 1240 (10th Cir. 2017). Thus, Plaintiffs may not rely

on current conditions and post-injunction events to argue that the District Court

abused its discretion.




                                           3
    Appellate Case: 21-1414   Document: 90     Date Filed: 04/18/2022    Page: 11




                       JURISDICTIONAL STATEMENT

      Defendants agree with Plaintiffs’ Jurisdictional Statement as it pertains to

Case No. 22-1027 but disagree that the Court has jurisdiction over Case No. 21-

1414 because that appeal is moot. 3

      Plaintiffs filed successive appeals challenging the District Court’s denials of

two motions seeking to enjoin the University’s enforcement of its policies

requiring medical campus employees and students to receive a COVID-19 vaccine.

In Case No. 21-1414, Plaintiffs sought to enjoin the University’s September 1

Policy. The District Court denied the requested injunction as moot since that policy

had been repealed and replaced on September 24, 2021, before Plaintiffs filed suit.

In Case No. 22-1027, Plaintiffs amended their complaint to include the September

24 Policy and filed a renewed motion to enjoin both the September 1 Policy and

the September 24 Policy. The District Court denied the renewed motion.

      Plaintiffs’ election to file their Amended Complaint and Renewed Motion

for Preliminary Injunction necessarily extinguished the controversy stemming from

their prior request for injunctive relief. See Brumfiel v. U.S. Bank, 2013 WL




3
 Defendants raised these arguments in their Motion to Dismiss Case No. 21-1414
as Moot filed on February 17, 2022, see Doc. No. 010110647011, which is still
pending before the Court.
                                        4
   Appellate Case: 21-1414     Document: 90     Date Filed: 04/18/2022    Page: 12




12246738, at *1 (D. Colo. May 16, 2013) (“Because the original complaint has

been superseded and nullified, there is no longer a live dispute about the propriety

or merit of the claims asserted therein; therefore, any motion to dismiss such

claims is moot.”). When a motion tied to a superseded complaint is rendered moot,

“[i]t follows that the appeal from the order . . . is moot.” Am. Concrete Agric. Pipe

Ass’n v. no-Joint Concrete Pipe Co., 331 F.2d 706, 708 (9th Cir. 1964).

      The Court does not have jurisdiction over Case No. 21-1414 since enjoining

the University from enforcing the September 1 Policy would have no effect in the

real world. See Rio Grande Silvery Minnow v. Bureau of Reclamation, 601 F.3d

1096, 1112 (10th Cir. 2010) (concluding that a superseding biological opinion

mooted environmental groups’ prayer for injunctive and declaratory relief based on

earlier opinions). Since the September 1 Policy is no longer in effect, and as

Plaintiffs Dr. Jane Doe 1 and John Doe 1’s original complaint and request to enjoin

the September 1 Policy were superseded by the filing of the Amended Complaint

and the renewed request for injunction, the Court cannot grant any effectual relief

to those two Plaintiffs in Case No. 21-1414.

      Moreover, the relief requested by all Plaintiffs in the second appeal (Case

No. 22-1027) would grant them everything Dr. Jane Doe 1 and John Doe 1 seek in

the first, also rendering Plaintiffs’ first appeal moot. Thus, the Court should

                                           5
     Appellate Case: 21-1414   Document: 90     Date Filed: 04/18/2022    Page: 13




dismiss Case No. 21-1414 for lack of jurisdiction to avoid issuing an advisory

opinion. See Caddo Nation of Okla. v. Wichita & Affiliated Tribes, 877 F.3d 1171,

1176 (10th Cir. 2017); Fleming v. Gutierrez, 785 F.3d 442, 445 (10th Cir. 2015).

                 STATEMENT OF THE ISSUES PRESENTED

1.     Whether the District Court properly denied as moot Plaintiffs’ request for a

preliminary injunction enjoining enforcement of the September 1 Policy, which

had been repealed and replaced by the September 24 Policy.

2.     Whether the District Court properly denied Plaintiffs injunctive relief where

Plaintiffs failed to demonstrate a likelihood of success on the merits of their

constitutional claims, failed to show irreparable harm under the September 24

Policy, and failed to demonstrate that the public interest weighs in favor of

enjoining enforcement of the September 24 Policy.

                          STATEMENT OF THE CASE

       This appeal arises from the District Court’s denial of Plaintiffs’ requests to

enjoin the University’s enforcement of successive policies requiring employees

and students on the University’s medical campus to receive COVID-19

vaccinations. Initially, two Plaintiffs sought an order enjoining the University’s

September 1 Policy and requiring the University to grant their requested religious

exemptions and to revoke the University’s denial of their exemption requests.

                                           6
   Appellate Case: 21-1414     Document: 90     Date Filed: 04/18/2022    Page: 14




App.Vol. I 188. The District Court denied the requested injunction as moot since

that policy had been repealed and replaced by the September 24 Policy before

Plaintiffs filed suit. App.Vol. III 624. That ruling forms the basis of the appeal in

Case No. 21-1414. App.Vol. V 1259.

      The original two Plaintiffs, joined by 15 others, then filed an amended

complaint and renewed their motion to enjoin the University’s enforcement of both

the September 1 and September 24 Policies. App.Vol. IV 879, 968. The District

Court denied the renewed motion, finding that Plaintiffs had failed to show a clear

right to injunctive relief or meet the high bar for a disfavored injunction. App.Vol.

VII 1663. That ruling forms the basis of the appeal in Case No. 22-1027. App.Vol.

VII 1676.

      The two appeals have been procedurally consolidated (Doc. No.

010110640819). The Court has denied Plaintiffs’ motion for injunction pending

appeal (Doc. No. 10110669493). Because the September 1 Policy is no longer in

effect, and because Plaintiffs’ request to enjoin that policy was superseded by

Plaintiffs’ filing of the Amended Complaint and the renewed request for

preliminary injunction, the University has moved to dismiss Case No. 21-1414 as

moot (Doc. No. 010110647011).



                                           7
     Appellate Case: 21-1414    Document: 90     Date Filed: 04/18/2022    Page: 15




                            STANDARDS OF REVIEW

I.     Standards Governing Appellate Review of Preliminary Injunctions

       The Court reviews the denial of a preliminary injunction for an abuse of

discretion. Mrs. Field’s Franchising, LLC v. MFGPC, 941 F.3d 1221, 1232 (10th

Cir. 2019). “A district court’s decision crosses the abuse-of-discretion line if it

rests on an erroneous legal conclusion or lacks a rational basis in the record for the

ruling. The Court examines the court’s factual findings for clear error and its legal

conclusions de novo.” Id. at 1232-33 (quoting Free the Nipple Fort Collins v. City

of Fort Collins, 916 F.3d 792, 796-97 (10th Cir. 2019)).

       The Court is not, as Plaintiffs contend, “obligated to independently review

the factual record to ensure that the [district] court’s judgment does not unlawfully

intrude on free [exercise of religion].” Op. Br. at 37 (quoting Boy Scouts of Am. v.

Dale, 530 U.S. 640, 648-49 (2000)). The Boy Scouts of America standard of review

applies only to “a First Amendment case where the ultimate conclusions of law are

virtually inseparable from findings of fact,” which is not the case here. 530 U.S. at

648-49. Plaintiffs have not argued, much less established, that the District Court’s

ultimate conclusions of law are “virtually inseparable” from its findings of fact

such that Boy Scouts of America would apply.



                                           8
      Appellate Case: 21-1414   Document: 90     Date Filed: 04/18/2022    Page: 16




II.     Mootness Standard

        “Mootness is a threshold issue because the existence of a live case or

controversy is a constitutional prerequisite to federal court jurisdiction.” Rio

Grande Silvery Minnow, 601 F.3d at 1109 (cleaned up). “When it becomes

impossible for a court to grant effective relief a live controversy ceases to exist,

and the case becomes moot.” Abdulhaseeb v. Calbone, 600 F.3d 1301, 1311 (10th

Cir. 2010) (quotation marks omitted); accord McAlpine v. Thompson, 187 F.3d

1213, 1216 (10th Cir. 1999) (mootness applies when factual developments render a

dispute “no longer live and ongoing,” such that a decision on the merits will not

“affect[] the behavior of the defendant toward the plaintiff”). Without a live

concrete controversy, the Court lacks jurisdiction to consider claims. Rio Grande

Silvery Minnow, 601 F.3d at 1109.

        “When prospective equitable relief is requested, the requesting party must

show an ongoing, personal stake in the outcome of the controversy, a likelihood of

substantial and immediate irreparable injury, and the inadequacy of remedies at

law.” Rezaq v. Nalley, 677 F.3d 1001, 1008-10 (10th Cir. 2012). “Past exposure to

illegal conduct does not itself show a present case or controversy regarding the

injunctive relief.” O’Shea v. Littleton, 414 U.S. 488, 495-96 (1974). “The crucial

question is whether granting a present determination of the issues will have some

                                           9
       Appellate Case: 21-1414    Document: 90     Date Filed: 04/18/2022    Page: 17




effect in the real world.” Wyoming v. U.S. Dep’t of Agric., 414 F.3d 1207, 1212

(10th Cir. 2005).

III.     Preliminary Injunction Standard

         Because injunctive relief is an extraordinary remedy, Plaintiffs’ right to such

relief must be clear and unequivocal. Schrier v. Univ. of Colo., 427 F.3d 1253,

1259 (10th Cir. 2005). Courts “disfavor” preliminary injunctions that would alter

the status quo or mandate action by the defendant. Id. at 1258-59; see also Op. Br.

at 40 (“Where, as here, Plaintiffs seek a mandatory injunction requiring Defendants

to take affirmative steps restoring the status quo, they must make a ‘strong

showing’ that they’re likely to succeed on the merits and the balance of harm

weighs in their favor.”). “To get a disfavored injunction the moving party faces a

heavier burden on the likelihood-of-success-on-the-merits and the balance-of

harms factors: [Plaintiffs] must make a ‘strong showing’ that these tilt in [their]

favor.” Fish v. Kobach, 840 F.3d 710, 724 (10th Cir. 2016) (quoting Beltronics

USA, Inc. v. Midwest Inventory Distrib., LLC, 562 F.3d 1067, 1071 (10th Cir.

2009)).

         As this Court is aware, to obtain injunctive relief, Plaintiffs must establish

“(1) a substantial likelihood of prevailing on the merits; (2) irreparable harm unless

the injunction is issued; (3) that the threatened injury outweighs the harm that the

                                            10
     Appellate Case: 21-1414    Document: 90     Date Filed: 04/18/2022   Page: 18




 preliminary injunction may cause the opposing party; and (4) that the injunction, if

 issued, will not adversely affect the public interest.” Mrs. Field’s Franchising,

 LLC, 941 F.3d at 1232.

                                  BACKGROUND

I.     COVID-19
       COVID-19 is a deadly infectious disease caused by SARS-CoV-2, a novel

 coronavirus that spreads through respiratory droplets and particles that contain the

 virus. App.Vol. VI 1270, 1317. People of any age may contract and transmit

 COVID-19 and may suffer severe illness or death or incur long-term, ongoing

 health problems. App.Vol. VI 1317-18. Many face increased risk of severe illness

 or death, including the pregnant, the immunocompromised, and persons with heart

 conditions, cancer, diabetes, or kidney, liver, or lung disease. App.Vol. VI 1318.

       When the District Court considered Plaintiffs’ motions, the United States

 had recorded approximately 48.5 million cases of COVID-19 and nearly 780,000

 deaths. App.Vol. VI 1318, 1381. Colorado had over 830,300 confirmed cases and

 approximately 9,500 deaths. App.Vol. VI 1318.

       At the time, the situation in Colorado was critical. The pandemic had begun

 a stark upward turn in September 2021 and projections showed increasing

 infections, hospitalizations, and deaths. App.Vol. VI 1318-19. In September 2021,


                                          11
      Appellate Case: 21-1414   Document: 90    Date Filed: 04/18/2022    Page: 19




experts predicted that “approximately 1 in every 99 Coloradoans were infectious,

which was in the upper range of prevalence rates of infection in 2021.” App.Vol.

VI 1315-16. On October 31, Governor Polis signed an executive order authorizing

the Colorado Department of Public Health and Environment to order hospitals to

transfer or cease admission of patients to respond to the growing disaster. App.Vol.

VI 1319. By November 2021, approximately 93% of acute care hospital beds and

94% of ICU hospital beds were in use, App.Vol. VI 1320, and experts estimated

that one in every 48 Coloradans was infectious with COVID-19. App.Vol. VI

1316.

II.     COVID-19 Vaccines

        Vaccination is “the path to safeguard the University’s employees, students,

and patients to the fullest extent possible.” App.Vol. VI 1325-26, 1345. Three

COVID-19 vaccines are available to Coloradans, for free; these vaccines “provided

a safe and effective path for pandemic control.” App.Vol. VI 1321-22.

        The COVID-19 vaccines have proven safe and effective, with over 475

million doses administered in the United States at the time of briefing below.

App.Vol. VI 1321, 1323, 1382. Peer-reviewed scientific evidence substantiates that

vaccinated persons are less likely to be infected or to transmit the virus to others

and enjoy substantially decreased chances of hospitalization or death. App.Vol. VI

                                          12
   Appellate Case: 21-1414     Document: 90    Date Filed: 04/18/2022    Page: 20




1323. Vaccination is the only safe means of controlling spread and further

mutations of the SARS-CoV-2 virus to bring the worldwide pandemic to an end.

App.Vol. VI 1321, 1345, 1368-69, 1372. No other intervention has a level of

effectiveness approaching vaccination. App.Vol. VI 1321-22, 1345. It is the most

effective means of protecting the most vulnerable, including children and the

immunocompromised, whom the University’s employees and students serve as

medical providers. App.Vol. VI 1345-46, 1356, 1371-72.

      Although nonpharmaceutical interventions (i.e., masking) can be layered to

reduce transmission, none—save vaccination—reduces the severity of COVID-19.

App.Vol. VI 1323. In December 2021, 84% of those hospitalized due to COVID-

19 were unvaccinated. Id. This—coupled with the continued inability to vaccinate

children under age 5—means that the rate of vaccination attained by staff in

medical-care settings is reduced by the introduction of patient and visitor

populations. And although people may also develop some temporary “natural”

immunity through infection, that immunity is non-durable. App.Vol. VI 1324.

Hence, achieving the highest possible vaccination rate amongst healthcare workers

and others on-campus is critical to patient and community safety. App.Vol. VI

1325-26.



                                         13
       Appellate Case: 21-1414   Document: 90     Date Filed: 04/18/2022   Page: 21




III.     The September 1 and September 24 Policies
         The University of Colorado Anschutz Medical Campus in Aurora, Colorado

houses numerous health sciences schools and hospitals (together, the “Anschutz

Campus”). App.Vol. VI 1347. Aurora falls into Adams, Arapahoe, and Douglas

Counties, which were recognized as “high” risk for community transmission when

this matter was before the District Court. App.Vol. VI 1320.

         After the Colorado Board of Health issued a rule requiring that all staff in

healthcare facilities, including students, be vaccinated, 6 Colo. Code Regs. § 1011-

1:2-12.2, the University adopted the September 1 Policy to require vaccination of

all individuals who work or learn on the Anschutz Campus or in connection with

Anschutz programs. App.Vol. VI 1348; Appellants’ Mot. for Inj. Pending Appeal

and for Expedited Appeal and Briefing Schedule Ex. 2, Doc. No. 010110644451,

at 104-08. As infections and hospitalizations continued to rise sharply, the

University then repealed and replaced the September 1 Policy with the September

24 Policy. App.Vol. VI 1348, 1374-79.

         The September 24 Policy, which remains in effect,4 provides medical and

religious exemptions where required by federal law. Specifically, as required by


4
 The University has since made and communicated limited updates to the
September 24 Policy. See https://www.cuanschutz.edu/coronavirus/updates#ac-
chancellors-message-masks-boosters-campus-protocols-testing-feb-28-2022-0.
                                      14
    Appellate Case: 21-1414    Document: 90     Date Filed: 04/18/2022   Page: 22




the ADA and the Rehabilitation Act, students and employees may request an

accommodation for a medical condition. App.Vol. VI 1376-78; Appellees’ Resp.

to Appellants’ Mot. for Inj. Pending Appeal Ex. T, Doc. No. 010110648416, at

237. The September 24 Policy also requires the University to consider employees’

requests for accommodation based upon their sincerely held religious beliefs

consistent with Title VII.5 Id., Ex. T at 238. Finally, the September 24 Policy

eliminated the September 1 Policy’s requirement that a religious belief be based on

a religion “whose teachings are opposed to all immunizations.” Id., Ex. T at 237;

App.Vol. VI 1348-49. Notably, the September 24 Policy became effective before

Plaintiffs filed their complaint and has been in place and consistently applied for

more than seven months, and the University has no intention of reintroducing the

September 1 Policy. App.Vol. VI 1349-50; Appellants’ Surreply to Reply to Resp.

to Appellants’ Mot. for Inj. Pending Appeal (“Surreply”) Ex. BB, Doc. No.

010110654461, ¶¶ 15-16.



Specifically, boosters are not required, although those who have taken the booster
are not required to mask indoors, except in clinical settings. The core components
of the September 24 Policy, including the requirements around primary vaccination
and exemptions, remain unchanged.
5
  The September 1 Policy inadvertently authorized religious accommodations for
students even though Title VII applies only to employees, not students. App.Vol.
VI 1348-49. The September 24 Policy corrected that oversight. Id.
                                        15
    Appellate Case: 21-1414    Document: 90     Date Filed: 04/18/2022    Page: 23




      The September 24 Policy’s tripartite goals are to safeguard patient and

community health, limit transmission of the virus, and reduce staffing shortages

wrought by illness among providers and staff, which jeopardize patient care and

overburden healthcare resources.6 App.Vol. VI 1349-50. As such, exemptions are

narrow. When the District Court considered this case, the University had received

74 medical exemption requests and granted 29 (18 temporary and 11 permanent).

App.Vol. VI 1365. In contrast, the University had received more than 200 religious

exemption requests. App.Vol. VI 1329. The review process for all requests is

identical, App.Vol. VI 1351-53, and if the requestor cannot be accommodated with

either fully remote or fully isolated work to prevent undue hardship, the request is

denied.7 App.Vol. VI 1353.



6
  The September 24 Policy is consistent with the rule that all “hospital staff, who
provide any care, treatment, or other services for the hospital and/or its patients,”
including students, are fully vaccinated against COVID-19, 42 C.F.R.
§ 482.42(g)(1)(iii), which has been upheld by the Supreme Court:
      [E]nsuring that providers take steps to avoid transmitting a dangerous
      virus to their patients is consistent with the fundamental principle of the
      medical profession: first, do no harm. It would be the “very opposite of
      efficient and effective administration for a facility that is supposed to
      make people well to make them sick with COVID-19.”
Biden v. Missouri, 142 S. Ct. 647, 652 (2022) (quotation omitted).
7
  Plaintiffs’ vague allegation that “individuals” with medical exemptions were
treated more favorably is unsupported. Op. Br. at 22. Two students who were
granted medical exemption under the September 1 Policy were mistakenly
                                           16
      Appellate Case: 21-1414   Document: 90    Date Filed: 04/18/2022   Page: 24




IV.     The September 24 Policy & Employees

        After adopting the September 24 Policy (five days before this suit was filed),

the University undertook a thorough review of current employees’ requests for

religious accommodations. App.Vol. VI 1328. That review was independent of any

determinations made under the September 1 Policy; in fact, the University

appointed independent reviewers who had not previously considered requests

under the prior policy. App.Vol. VI 1328; 1351.

        Under the September 24 Policy comprehensive review process, the

Associate Vice Chancellor and Chief Human Resources Officer first reviewed each

accommodation request to confirm it was based on a sincerely held religious belief.

App.Vol. VI 1328-29. Next, the Human Resources Principal Professional worked

with the appropriate supervisor(s) to evaluate, based upon the employee’s position

and duties, whether an accommodation was possible without undue hardship to the

University. App.Vol. VI 1328-29, 1351-52. An undue hardship arises when an

employee’s duties require in-person work, because unvaccinated individuals




permitted on campus, App.Vol. VI 1298-99, 1392-93, but the University corrected
that error to ensure that no unvaccinated employees or students are permitted to
work with immunocompromised patients. App.Vol. VI 1299, 1392-93.
                                         17
    Appellate Case: 21-1414    Document: 90     Date Filed: 04/18/2022   Page: 25




threaten the health and safety of the campus community, which includes medically

fragile patients. Id.

       This review was both time and labor intensive and required several weeks to

administer in an appropriately deliberate and thorough manner. App.Vol. VI 1328-

29, 1351-53. This approach was necessary to fully evaluate each employee’s core

job duties in partnership with their immediate supervisors in order to ascertain if

and how that person could be accommodated. Id. This sort of careful deliberation

was necessary both to do justice to each employee’s sincerely held beliefs and to

ensure that the University maintained a safe and healthy environment for the

thousands of vulnerable patients obtaining care on campus each day. App.Vol. VI

1328-29, 1347-50, 1351-53.

       Although Plaintiffs object to the timeliness of the process, the University’s

deliberate reevaluation under the September 24 Policy yielded full accommodation

for six employee-Plaintiffs. App.Vol. VI 1330-41. Specifically, the University

granted Jane Does 4 and 6 and John Does 3, 5, and 7 religious accommodations

under the September 24 Policy because their work can be performed remotely.

App.Vol. VI 1330-38, 1340-41. Likewise, the University granted John Doe 4 a

religious accommodation because he could perform his work fully isolated on

campus. App.Vol. VI 1339.

                                          18
      Appellate Case: 21-1414     Document: 90      Date Filed: 04/18/2022   Page: 26




         Accommodations were denied only for those employee-Plaintiffs whose

duties required in-person interaction with patients and staff and whose exemption

requests thus presented an undue hardship to the University:

    Plaintiff     Position             Role Risk            Status         Source
    Dr. Jane PICU doctor,        Daily care for          Terminated    App.Vol. VI
    Doe 1     Children’s         patients 3-4 days to    February 2,   1279-80,1344;
              Hospital           21 years old; many      2022          IPA Mot. Ex. 3
              Colorado           unvaccinated                          (Doc. No.
              Springs                                                  010110644452)
    Dr. Jane Pediatric           Daily care in and       Resigned in   App.Vol. VI
    Doe 2     Anesthesiologist   around mouths and       lieu of       1279-81
                                 noses of young, ill     termination
                                 patients; many          before the
                                 unvaccinated            September
                                                         24 Policy
                                                         was
                                                         implemented
    Dr. Jane   Rheumatologist    Daily care for          On unpaid     App.Vol. VI
    Doe 3                        immunocompromised leave               1279, 1281,
                                 and older persons,                    1318, 1329,
                                 both at higher risk for               1331; IPA Mot.
                                 poor COVID-19                         Ex. 5 at ¶ 2
                                 outcomes                              (Doc. No.
                                                                       010110644454)
    Jane       Program           Work includes on-site Granted         App.Vol. VI
    Doe 5 8    Coordinator       administrative        temporary       1279, 1282,
                                 functions             remote          1329, 1333
                                                       work with a
                                                       10% pay
                                                       reduction

8
  At the time of the briefing below, Jane Doe 5 had been accommodated with 90%
remote work and thus, 90% pay. While the Court must consider the information
available to the District Court in rendering its decision, in candor to the tribunal,
the University respectfully notes that since that time, Jane Doe 5 has been able to
be accommodated to 100% and her rate of pay reflects the same.
                                          19
      Appellate Case: 21-1414    Document: 90      Date Filed: 04/18/2022     Page: 27




                                                         since some
                                                         duties cannot
                                                         be performed
                                                         remotely
    Jane       Data &           Duties require on-       Terminated      App.Vol. VI
    Doe 9      Analytics Team   campus presence and      due to          1279, 1282-83,
               Research         direct contact with      failure to      1383
               Assistant        others                   follow
                                                         policy after
                                                         she came to
                                                         campus
                                                         unmasked
                                                         and
                                                         unvaccinated
    Jane       Clinical         Cancer patients are at   FMLA leave      App.Vol. VI
    Doe 10 9   Research         great risk for adverse   through         1279, 1283,
               Manager,         effects from COVID-      March of        1318, 1329,
               Colorado         19; job requires in-     2022; to be     1335
               Cancer Center    person interaction       terminated if
                                with staff and direct    she remains
                                patient care             unvaccinated
    Jane       Psychiatric      Work requires            Terminated      App.Vol. VI
    Doe 11     Mental Health    interactions with        January 31,     1279, 1283-84,
               Nurse            those with mental        2022            1329, 1337;
               Practitioner     health problems that                     IPA Mot. Ex. 4
                                place them at higher                     (Doc. No.
                                risk of adverse                          010110644453)
                                outcomes from
                                COVID-19




9
  While the Court must consider the information available to the District Court in
rendering its decision, in candor to the tribunal, the University respectfully notes
that Jane Doe 10 remained on FMLA leave through April 15, 2022.

                                            20
     Appellate Case: 21-1414   Document: 90    Date Filed: 04/18/2022    Page: 28




V.     The September 24 Policy & Students
       Students are ineligible for religious exemption under the September 24

Policy. App.Vol. VI 1377, 1348-49, 1390. This policy change was made in

response to rising numbers of infection, and it furthers the University’s goal of

requiring as many students as possible to get vaccinated to stop the spread of

COVID-19 and reduce the severity of COVID-19’s effects at Colorado’s only

medical school. App.Vol. VI 1348-50. Medical students treat patients. App.Vol VI

1371-72. Assuming no undue hardship to the University, legally required medical

accommodations remain available only when “vaccination is absolutely

contraindicated due to other medical conditions” and would jeopardize the life or

health of the recipient. App.Vol VI 1376, 1348, 1364-65. The status of the student-

Plaintiffs is summarized below:




                                         21
     Appellate Case: 21-1414   Document: 90   Date Filed: 04/18/2022   Page: 29




      Name          Year and              Status                  Source
                    Program
 Jane Doe 7 10    Y4 Dental       Vaccinated; contracted  App.Vol. VI 1285-
                                  COVID-19 and was        86; Resp. re IPA,
                                  temporarily unable to   Ex. T at 10-11, 37-38
                                  take the vaccine        (Doc. No.
                                                          010110648416);
                                                          Resp. re IPA, Ex. U
                                                          (Doc. No.
                                                          010110648417); Op.
                                                          Br. at 29 n.10
 Jane Doe 8       Public Health  Taking classes at        App.Vol. VI 1286;
                  undergraduate  Denver (and exempt);     Resp. re IPA, Ex. T
                  at University  disenrolled from one in- at 11, 38-40
                  College Denver person graduate class at (Doc. No.
                                 Anschutz campus          010110648416)
 John Doe 1       Y1 Medical     Selected one-year leave App.Vol. VI 1286-87,
                                 of absence after request 1371-72; Resp. re
                                 denied under superseded IPA, Ex. T at 12, 47,
                                 September 1 Policy       49, 68 (Doc. No.
                                                          010110648416)
 John Doe 6       Y1 Master’s of Request denied “because App.Vol. VI 1287;
                  Anesthesiology of the undue burden it   Resp. re IPA, Ex. T
                                 would cause to the       at 14, 231-34 (Doc.
                                 Program’s ability to     No. 010110648416)
                                 provide safe patient
                                 care”; dismissed




10
  Jane Doe 7 has taken the vaccine but alleges she faces potential future harm if
required to take a booster. Op. Br. at 29 n10. The University does not require
booster shots. Surreply, Doc. No. 010110654459, at 3; Surreply Ex. BB, Doc. No.
010110654461, ¶¶ 13-14; https://www.cuanschutz.edu/
coronavirus/updates#ac-chancellors-message-masks-boosters-campus-protocols-
testing-feb-28-2022-0. Accordingly, no potential injunctive relief is available to
Jane Doe 7.
                                          22
   Appellate Case: 21-1414     Document: 90     Date Filed: 04/18/2022    Page: 30




                                   ARGUMENT

I.    Plaintiffs’ request for injunctive relief related to the September 1 Policy
is moot.

      The District Court twice considered injunctive relief in connection with the

September 1 Policy and twice denied that relief as moot. First, the District Court

evaluated the policy as it pertained to Plaintiffs Dr. Jane Doe 1, a pediatric

intensive care physician employed by Defendant University of Colorado, and John

Doe 1, a medical student at Anschutz School for Medicine, both of whom

requested and were denied religious exemptions under the September 1 Policy.

App.Vol. III 625. As a result of their refusal to follow the September 1 Policy, Dr.

Jane Doe 1 was placed on indefinite administrative leave and Plaintiff John Doe 1

took a leave of absence. Id.

      The District Court correctly denied injunctive relief relating to the

September 1 Policy because that policy had already been rescinded and replaced

by the time Plaintiffs filed their complaint and motion for preliminary injunction.

Plaintiffs did not dispute these contentions, nor did they did present any evidence

that the September 1 Policy would ever be reinstated. App.Vol. III 624-26; see Rio

Grande Silvery Minnow, 601 F.3d at 1118 (“[S]elf-correction . . . provides a secure

foundation for mootness so long as it appears genuine.”). On the record before it,

the District Court correctly concluded that Plaintiffs “concede[d] that the
                                         23
   Appellate Case: 21-1414     Document: 90     Date Filed: 04/18/2022    Page: 31




September 24 Policy amended and superseded the prior policy,” which mooted

their request for injunctive relief. The District Court also found that no evidence in

the record suggesting that “Defendants might reinstate the September 1 policy.”

App.Vol. III 626 (District Court finding “there is no indication on the current

record that Defendants might reinstate the September 1 policy as conditions related

to the Covid-19 pandemic evolve”).

      The District Court again considered the September 1 Policy when Plaintiffs

amended their complaint and filed a renewed motion for preliminary injunction.

Rejecting Plaintiffs’ argument that the September 24 Policy “did not moot the

original harm inflicted by” the September 1 Policy, App.Vol. VI 1400, the District

Court determined there was “no argument or evidence that the September 1 Policy

continues to be in effect or is likely to be reinstated.” App.Vol. VII 1667. Because

the September 24 Policy replaced the September 1 Policy prior to suit, and because

there was no evidence that the old policy would ever be reinstated, enjoining the

University from enforcing the September 1 Policy would have no effect in the real

world and Plaintiffs’ claim was moot. App.Vol. VII 1667-68.

      On appeal, Plaintiffs likewise cannot point to any evidence that the

September 1 Policy will be reinstated. Nor have they demonstrated how enjoining

the University from enforcing the now-defunct September 1 Policy will have any

                                          24
   Appellate Case: 21-1414      Document: 90     Date Filed: 04/18/2022     Page: 32




practical effect in the real world. See Rio Grande Silvery Minnow, 601 F.3d at

1112. Plaintiffs focus on Jane Does 2 and 9, arguing that “Defendants did not

reconsider [under the September 24 Policy] the requests by Jane Does 2 and 9, who

had since resigned and been terminated, respectively.” App.Vol. VII 1666.

Plaintiffs insist that the September 1 Policy must be enjoined in order to restore

these two persons to their pre-September 1 status. But there is no meaningful

injunctive relief the Court can grant to individuals who have already separated

from the University. The University already found that it could not accommodate

Dr. Jane Doe 2 absent undue hardship, App.Vol. VI 1280-81, and there is no

reason to believe it would conclude otherwise through post-separation review

under the September 24 Policy since her core duties include minor patient

care. Moreover, since Jane Doe 9 was terminated for separate reasons—including

for failing to wear a mask and observe social distancing protocol on campus while

she was unvaccinated, App.Vol. VI 1279, 1282-83, 1383-84; Op. Br. at 27—she

would not be able to regain her position even irrespective of the September 1

Policy.

      Plaintiffs have also not identified any clear error in the District Court’s

factual findings relating to the September 1 Policy, nor established any error or

lack of rational basis in the court’s legal conclusions as to that policy. Plaintiffs did

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      Appellate Case: 21-1414    Document: 90      Date Filed: 04/18/2022     Page: 33




not present any evidence that Defendants will ever reinstate the September 1

Policy—to the contrary, the uncontroverted evidence is that the University

vehemently denies any such intention and has maintained the September 24 Policy

for the past seven months—or show how enjoining the September 1 Policy would

have any “effect in the real world.” See Rio Grande Silvery Minnow, 601 F.3d at

1112. Plaintiffs thus fall far short of the heightened standard they must meet for a

mandatory injunction.

        In sum, the District Court correctly concluded that Plaintiffs’ claim for

injunctive relief from the September 1 Policy is moot and should be denied.

II.     Plaintiffs are unlikely to succeed on the merits.

        Plaintiffs fail to establish that the District Court abused its discretion in

denying Plaintiffs’ preliminary injunction motions. See Mrs. Field’s Franchising,

941 F.3d at 1232. Plaintiffs did not identify any clear error in the District Court’s

factual findings. Nor did they show that the District Court erred in determining that

Plaintiffs were unlikely to succeed on the merits of their claims under either the

September 1 Policy or the September 24 Policy. See id. at 1232-33.

        A.    The court properly applied rational basis review.

        The Constitution permits general regulations that incidentally burden

religious practices. Emp. Div. v. Smith, 494 U.S. 872, 879 (1990). “[T]he right of

                                            26
   Appellate Case: 21-1414      Document: 90     Date Filed: 04/18/2022    Page: 34




free exercise does not relieve an individual of the obligation to comply with a

‘valid and neutral law of general applicability on the ground that the law proscribes

(or prescribes) conduct that his religion prescribes (or proscribes).’” Id. (quotation

omitted). “[A] law that is neutral and of general applicability need not be justified

by a compelling governmental interest even if the law has the incidental effect of

burdening a particular religious practice.” Church of the Lukumi Babalu Aye, Inc.

v. City of Hialeah, 508 U.S. 520, 531 (1993). A “neutral law of general

applicability” is subject to rational basis review. Smith, 494 U.S. at 878; see also

We The Patriots USA, Inc. v. Hochul, 17 F.4th 266, 281 (2d Cir. 2021) (“A neutral

law of general applicability is subject to rational basis review even if it incidentally

burdens a particular religious practice.” (quotation omitted)).

             1.     The September 24 Policy is neutral on its face and as
                    applied.

      In evaluating neutrality, the Court analyzes both whether the law is facially

neutral and whether the government acts in “a manner intolerant of religious

beliefs or restricts practices because of their religious nature.” Lukumi, 508 U.S. at

533. The September 24 Policy is neutral on its face since it applies to anyone who

works or learns on the Anschutz Campus or off campus in connection with CU

Anschutz programs “who currently or may in the future access any CU Anschutz

facility or in any CU Anschutz program, or whose employment or academic
                                       27
   Appellate Case: 21-1414      Document: 90     Date Filed: 04/18/2022    Page: 35




activities may require in-person interaction with other CU Anschutz employees,

students, patients, study subjects, or members of the public, regardless of location.”

App.Vol. I 293.

      Nothing in the plain language of the September 24 Policy is intolerant of

religion or singles out religious practices for disfavored treatment because of their

religious nature. See Fulton v. City of Philadelphia, 141 S. Ct. 1868, 1877 (2021).

The terms of the mandate do not make any reference to “a religious practice

without a secular meaning discernable from the language or context.” Lukumi, 508

U.S. at 533 (describing minimum requirement of facial neutrality).

      Nor have Plaintiffs shown a likelihood of establishing that Defendants

implemented the September 24 Policy with the aim of suppressing religious belief,

rather than protecting the health and safety of students, staff, and the

community. Id. at 533–42 (examining direct and circumstantial evidence in the

record to determine the object of a law). Plaintiffs argue that the September 24

Policy is not neutral because it provides religious exemptions to employees but not

students. Op. Br. at 46. This distinction, however, is insufficient to establish that

the September 24 Policy is not neutral, because although the policy distinguishes

employees from students, it does not single out religion or religious practices. See

Does 1-6 v. Mills, 16 F.4th 20, 29 (1st Cir. 2021).

                                          28
   Appellate Case: 21-1414     Document: 90     Date Filed: 04/18/2022   Page: 36




      The University provided a lawful, secular basis for distinguishing between

employees and students: the two groups are legally and factually dissimilar. As the

District Court noted, Defendants granted religious accommodations to employees

in compliance with Title VII of the Civil Rights Act of 1964, which protects

employees, not students, and requires that employers offer a reasonable

accommodation to resolve a conflict between an employee’s sincerely held

religious belief and a condition of employment, unless such accommodation would

create an undue hardship for the employer’s business. App.Vol. VII 1671 (“[T]he

September 24 Policy treats employees and students differently because of Title VII

of the Civil Rights Act of 1964, which protects the former but not the latter.”).

      Contrary to Plaintiffs’ assertions, the Constitution simply does not require

schools to provide students religious exemptions from mandatory vaccination. See,

e.g., Doe v. San Diego Unified Sch. Dist., 19 F.4th 1173, 1180 (9th Cir. 2021)

(upholding a vaccine policy permitting religious accommodations for employees

but not students); Klaassen v. Trs. Of Ind. Univ., 549 F. Supp. 3d 836, 890 (N.D.

Ind. July 18, 2021) (“[C]ourts have consistently held that schools that provided a

religious exemption from mandatory vaccination requirements did so above and

beyond that mandated by that Constitution.”). And factually, the University’s

employees and its students are not similarly situated. While some employees may

                                         29
   Appellate Case: 21-1414     Document: 90      Date Filed: 04/18/2022   Page: 37




perform their work remotely, students, who are in the process of learning their

chosen professions, have necessary in-person clinical responsibilities.

      Accordingly, Plaintiffs have not demonstrated that offering religious

accommodations only to employees amounts to treating comparable secular

activity more favorably than religious exercise. Plaintiffs’ citations to the

dissenting opinion in Doe, Op. Br., at 47, and Justice Gorsuch’s dissent in South

Bay United Pentecostal Church v. Newsom, 141 S. Ct. 716, 717 (2021), are

unpersuasive and insufficient to establish error by the District Court. Those cases,

and therefore the dissents upon which Plaintiffs rely, are distinguishable from the

claim Plaintiffs advance here, namely, that providing religious accommodations for

employees in compliance with Title VII but not to students renders the September

24 Policy non-neutral and therefore subject to strict scrutiny.

      Plaintiffs also argue that events leading to the September 24 Policy “belies

its neutrality” and that the court “must ‘survey meticulously’ the direct and

circumstantial evidence and determine if it nonetheless targets religion.” Op. Br. at

49 (quoting Lukumi, 508 U.S. at 534). But the District Court already reviewed the

policy’s history and determined that nothing in the record indicates that the

University acted for any reason except to protect the wellbeing of the students,

staff, and community from contracting and spreading COVID-19 during an

                                          30
   Appellate Case: 21-1414     Document: 90     Date Filed: 04/18/2022   Page: 38




unprecedented pandemic. See App.Vol. VII 1670 (“Contrary to what Plaintiffs

imply, the fact that the University amended its policy while navigating a

monthslong global pandemic does not show that its reasons for denying religious

exemptions for students are pretextual.”). Plaintiffs have failed to show that the

District Court’s decision “rests on an erroneous legal conclusion or lacks a rational

basis in the record.” Mrs. Field’s Franchising, LLC, 941 F.3d at 1232 (quotation

omitted).

      Plaintiffs next argue that the University is using “religious discrimination”

as the means to an entirely secular end—“complying with Title VII and campus

‘health.’” Op. Br. at 48 (citing Shrum v. City of Cowetta, 449 F.3d 1132 (10th Cir.

2006)). Plaintiffs insist that the September 24 Policy is “expressly ‘making

[students] choose between [their] duties as a [student] and [their] duties as

[religious believers].” Op. Br. at 49.

      Those arguments fail because Plaintiffs do not—and cannot—show that the

University was motivated by religious discrimination when it enacted the

September 24 Policy. Unlike the facts in Shrum, there is no evidence that

Plaintiffs’ religious views motivated the University to enact the September 24

Policy in order to force Plaintiffs to either withdraw from school or resign from

their positions with the University. To the contrary, the record demonstrates that

                                          31
     Appellate Case: 21-1414    Document: 90     Date Filed: 04/18/2022    Page: 39




the University enacted its vaccination policy in response to an unprecedented

global health crisis caused by COVID-19, which hit Colorado particularly hard, in

order to protect the health and safety of its employees, students, patients, and

community, and not because of any animosity it had towards Plaintiffs’ religious

beliefs.

       Consistent with the evidence in the record before it, the District Court

correctly concluded that “Plaintiffs have not shown a likelihood of establishing that

Defendants implemented the September 24 Policy ‘with the aim of suppressing

religious beliefs, rather than protecting the health and safety of students, staff, and

the community.’” App.Vol. XII 1670 (citing Doe, 19 F.4th at 1177). None of

Plaintiffs’ arguments establish that the District Court abused its discretion in

holding that the September 24 Policy is neutral.

             2.     The September 24 Policy is generally applicable.

       Plaintiffs next argue that the September 24 Policy is not generally

applicable, repeating many of their neutrality arguments.11 None of these

arguments have merit.



11
  As discussed above, Plaintiffs interject new information on appeal that was not
before the District Court below—for example, assertions about various aspects of
the pandemic, including the current percentage of vaccinated employees and
students, present levels of COVID-19 infection, a booster mandate and
                                         32
   Appellate Case: 21-1414     Document: 90     Date Filed: 04/18/2022    Page: 40




      “To be generally applicable, a law may not selectively burden religiously

motivated conduct while exempting comparable secularly motivated conduct.”

Mills, 16 F.4th at 29. A law may not be generally applicable if it (1) “invites the

government to consider the particular reasons for a person’s conduct by providing

a mechanism for individualized exemptions” or (2) “prohibits religious conduct

while permitting secular conduct that undermines the government’s asserted

interests in a similar way.” Fulton, 141 S. Ct. at 1877.

      The District Court’s determination that the September 24 Policy is generally

applicable even though it permits religious exemptions for employees but not

students is well supported by case law. See App.Vol. VII 1671-73. The University

is permitted to treat different categories of persons differently for non-religious

reasons without violating the general-applicability requirement. See, e.g., Doe, 19

F.4th at 1180 (upholding vaccine policy permitting religious accommodations for

employees but not students).

      Plaintiffs next claim that the September 24 Policy prohibits religious

conduct while permitting secular conduct that undermines the government’s



unvaccinated patients. Op. Br. at 32 n12, 24 n13, 33 n14, 51-52. Because the
Court’s review is limited to the evidence before the district court at the time of the
preliminary injunction, the University has responded only to those facts and
arguments presented to the District Court.
                                         33
   Appellate Case: 21-1414     Document: 90    Date Filed: 04/18/2022    Page: 41




asserted interests in a similar way. Plaintiffs point to two purported examples of

this: a fourth-year medical student who, after receiving a medical exemption, was

permitted to participate in medical rounds, App.Vol. I 232, ¶ 9, and a second

student who was initially granted a medical exemption and permitted in a clinical

setting but later removed from that setting and reevaluated under the September 24

Policy. See App.Vol.VI 1393 ¶¶ 3, 4. In addition to these two students, the

University also initially allowed some of the Plaintiffs to continue working past the

September 1 vaccination deadline, at least temporarily. App.Vol. VII 1673 (citing

App.Vol. V. 1045-45, ¶ 74, 1082, ¶ 185). The District Court acknowledged these

hiccups, found that Defendants had corrected them, see App.Vol. 1673 citing

App.Vol. 1299, and concluded that “at present, [u]nvaccinated employees and

students are not permitted to work in facilities with immunocompromised

patients.” App.Vol. VI 1673 (quotation omitted).

      Additionally, the District Court noted that under the September 24 Policy,

medical and religious accommodations undergo the same review process. App.Vol.

VII 1673. The court determined based on the “current record” before it that

“although the University has made adjustments to its response to the Covid-19

pandemic, it has now settled on enforcing the vaccine mandate pursuant to the

September 24 Policy, which is generally applicable.” App.Vol. VII 1673-74.

                                         34
   Appellate Case: 21-1414      Document: 90    Date Filed: 04/18/2022    Page: 42




Plaintiffs have not identified any clear error in those factual findings, nor shown

that the court’s conclusion that the September 24 Policy is generally applicable

rests on an erroneous legal conclusion or lacks a rational basis in the record.

Accordingly, the District Court correctly concluded that Plaintiffs “are not likely to

succeed in establishing that the policy is not generally applicable.” App.Vol. VII

1674.

        B.    The September 24 Policy survives rational basis review.

        Plaintiffs never argued below that either the September 1 Policy or the

September 24 Policy was not rational. See App.Vol. VII 1668 (District Court order

stating that “Plaintiffs have not argued that the September 24 Policy is not

rational”). Instead, Plaintiffs argued that the policies were not neutral or generally

applicable and therefore subject to strict scrutiny review. See App.Vol. I 204-25;

App.Vol. IV 970-72, 976-81, 983-85. The District Court disagreed, holding that

the September 24 Policy was neutral and generally applicable, and therefore

subject to rational basis review. Like other federal courts that have addressed

similar issues, the District Court held that the September 24 Policy was rational.

See App.Vol. VII 1668 (citing Doe, 19 F.4th 1173, 1180; Kane v. De Blasio, 19




                                          35
     Appellate Case: 21-1414     Document: 90    Date Filed: 04/18/2022   Page: 43




F.4th 152, 166 (2d Cir. 2021); We The Patriots, 17 F.4th at 290; Mills, 16 F.4th at

32).12

         For the first time on appeal, Plaintiffs now argue that the September 24

Policy fails rational basis scrutiny because three Plaintiffs “work entirely off

campus, including two who were eligible for or actually received religious

exemptions from their physical places of work” and because “Anschutz employees

and students may freely work among the unvaccinated at affiliate sites.” Op. Br. at

39; see id. at 64 (arguing that classifying Jane Does 1 and 11 in the same category

as unvaccinated employees who work on the Anschutz Campus is entirely

attenuated from the Policy’s goal . . . to protect the health and safety of University

of Colorado Anschutz Campus”).




12
  Federal courts overwhelmingly agree that vaccine mandates pass rational basis
review. See, e.g., Doe, 19 F.4th at 1180; Mills, 16 F.4th at 32; Klaassen v. Trs. of
Ind. Univ., 7 F.4th 592, 594 (7th Cir. 2021); Slidewaters LLC v. Wash. State Dep’t
of Lab. & Indus., 4 F.4th 747, 758 (9th Cir. 2021); Dixon v. De Blasio, __F. Supp.
3d __, No. 21-cv-5090, 2021 WL 4750187, at *5 (E.D.N.Y. Oct. 12, 2021), appeal
dismissed, Dixon v. DeBlasio, No. 21-2666, 2022 WL 961191 (2d Cir. March 28,
2022) (appeal dismissed as moot because the challenged restrictions were
rescinded, district court order vacated); Harris v. Univ. of Mass., Lowell, __ F.
Supp. 3d __, No. 21-cv-11244, 2021 WL 3848012, at *6 (D. Mass. Aug. 27, 2021);
Valdez v. Grisham, __ F. Supp. 3d at __, No. 21-cv-783, 2021 WL 4145746, at *9
(D.N.M. Sept. 13, 2021); Am.’s Frontline Doctors v. Wilcox, No. EDCV 21-1243
JGB, 2021 WL 4546923, at *3-5 (C.D. Cal. July 30, 2021).
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     Appellate Case: 21-1414    Document: 90      Date Filed: 04/18/2022    Page: 44




       Below, the District Court considered similar assertions from Plaintiffs,

including that “employees and students are granted religious exemptions more

readily on campuses other than on the Anschutz Medical Campus.” 13 App.Vol. VII

1671 n3. The court concluded that “these underdeveloped assertions do not provide

a basis for finding that the September 24 Policy, which applies solely to the

Anschutz Campus, is not neutral or generally applicable as to Plaintiffs,

particularly in the context of seeking a preliminary injunction, which requires

Plaintiffs to establish a clear and unequivocal right to relief.” Id. (citing Shrier v.

Univ. of Colo., 427 F.3d 1253, 1258 (10th Cir. 2005)). On appeal, Plaintiffs try to

further develop their assertions by arguing additional facts not in the record below,

for example, about the number of religious exceptions allegedly provided at other



13
   Plaintiffs argue that the University of Nebraska’s alleged grant of 200 religious
exemptions is dispositive here, based on an attestation of their counsel. Op. Br. at
31, 63. The number of vaccination exemptions at Nebraska’s medical school is
irrelevant to the September 24 Policy, which was implemented in response to
circumstances in Colorado. Setting aside issues of authenticity, foundation, and
relevance, what another state’s university could or could not accommodate based
on differing populations, geography, health risks, etc., is irrelevant. The
uncontroverted evidence before the District Court confirms that the University, in
consultation with renowned medical experts, carefully and narrowly tailored its
September 24 Policy to the circumstances it confronted in Colorado, including
nearly 1 million confirmed cases (nearly 50% of Nebraska’s entire population), the
September upward turn in cases, the 10th highest COVID-19 hospital demand in
the United States, and greater than 90% hospital bed occupancy. App.Vol. VI
1316-20.
                                           37
     Appellate Case: 21-1414    Document: 90     Date Filed: 04/18/2022      Page: 45




institutions like UC Health and Colorado Mental Health Institute at Pueblo. See

Op. Br. at 58, 63.

       This Court should not consider this additional information, which was not

before the District Court. See N.M. Dept’t of Game & Fish, 854 F.3d at 1240 (the

court does not consider post-injunction events in reviewing a denial of a

preliminary injunction). But even if did, it would make no difference because

Plaintiffs fail to demonstrate that the number of exemptions provided by other

schools or employers has any bearing on whether the September 24 Policy is

neutral or generally applicable. The University is not obligated to follow the policy

choices of other States, which presumably are tailored to conditions in those

places. State public-health officials have the greatest latitude when, as here, there

remains significant uncertainty about the best manner of responding to a

devastating infectious disease. See Marshall v. United States, 414 U.S. 417, 427

(1974) (“[When officials] undertake[] to act in areas fraught with medical and

scientific uncertainties,” their latitude “must be especially broad.”). 14



14
  Courts should generally defer to “the reasonable medical judgments of public
health officials.” Sch. Bd. of Nassau Cnty. v. Arline, 480 U.S. 273, 288, (1987).
The Court should refuse Plaintiffs’ invitation to second-guess the appropriateness
of the September 24 Policy as the most effective means for the University to
protect the health of its patients, employees, students, and community. See Denver
Bible Church v. Azar, 494 F. Supp. 3d 816, 828 (D. Colo. 2020) (“It isn’t the job of
                                          38
    Appellate Case: 21-1414      Document: 90     Date Filed: 04/18/2022    Page: 46




       Plaintiffs have not established that the District Court abused its discretion in

holding that the September 24 Policy was rational. App.Vol. VII 1668. (“Plaintiffs

have not argued that the September 24 Policy is not rational, and, in accord with

other federal courts that have reached the issue, this Court has no trouble finding

that it is.”).

       C.        The September 24 Policy also satisfies strict scrutiny.

       Although the September 24 Policy is neutral and generally applicable and

therefore subject to rational basis review, it also satisfies strict scrutiny. The

University has a compelling interest in protecting the health and safety of its

patients, employees, students, and community, as the District Court recognized.

See App.Vol. VII 1674 (“Defendants have a compelling interest in ensuring that

employees and students associated with Colorado’s preeminent medical campus

are vaccinated against Covid-19—for their patients’ health and safety as well as

their own.”).




the judiciary to second-guess the ‘wisdom, need, or appropriateness’ of the
measures taken by a state to protect the health of its people during a pandemic.”
(quoting Edwards v. California, 314 U.S. 160, 173 (1941)), appeal dismissed sub
nom. Church v. Polis, No. 20-1377, 2020 WL 9257251 (10th Cir. Dec. 23, 2020).

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   Appellate Case: 21-1414     Document: 90     Date Filed: 04/18/2022   Page: 47




      In September 2021, when the University’s policies went into effect, the

pandemic had begun an upward turn in Colorado and projections showed

increasing numbers of infections, hospitalizations, and deaths. App.Vol. VI 1318-

19, ¶ 28. Experts predicted that “approximately 1 in every 99 (or about 0.5%)

Coloradoans were infectious, which was in the upper range of prevalence rates of

infection in 2021.” App.Vol. VI 1316, ¶ 18.

      The situation continued to deteriorate and severely overwhelmed Colorado’s

hospital systems. On October 31, 2021, Governor Polis signed Executive Order D

2021 135, authorizing the Colorado Department of Public Health and Environment

to order hospitals to transfer or cease admission of patients to respond to the

growing COVID-19 disaster. App.Vol. VI 1319, ¶ 29. Hospitalizations continued

to increase, and the number of available hospital beds correspondingly decreased,

prompting Governor Polis to amend and extend Executive Order D 2021 135 on

November 29. App.Vol. VI 1319-20, ¶¶ 29-32; Executive Order D 2021 138. As of

the week of Thanksgiving, about 93% of acute care hospital beds and 94% of ICU

hospital beds in Colorado were in use. App.Vol. VI 1320, ¶ 32. Colorado

anticipated the tenth highest hospital demand nationwide. App.Vol. VI 1320, ¶ 31.

      In the midst of all that, the University implemented the September 24 Policy

to achieve the compelling interest of stemming the transmission of COVID-19.

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     Appellate Case: 21-1414   Document: 90    Date Filed: 04/18/2022   Page: 48




“COVID-19 vaccines are a key component in controlling the COVID-19 pandemic

both in terms of transmission rate and the severity of COVID-19 symptoms.”

App.Vol. VI 1322, ¶ 40. Consistent with CDC advice and reporting that the

University received prior to implementing the September 24 Policy, “the greatest

risk of transmission [of COVID-19] is among unvaccinated people who are much

more likely to get infected, and therefore transmit the virus.”15 See App.Vol. VI

1302 (citing August 26, 2021 CDC report).

       The September 24 Policy is also narrowly tailored to Defendants’

compelling interest in reducing the spread of COVID-19, because it provides

religious accommodation to employees and medical accommodations to employees

and students who can perform their work remotely or in isolation. Limiting in-

person contact to vaccinated individuals is narrowly tailored to the Anschutz

Campus’ compelling interest because employees and students have a greater risk of



15
  The Fifth Circuit’s decision in U.S. Navy Seals 1-26 v. Biden, No. 22-10077,
2022 WL 594375, at *12 (5th Cir. 2022), does not support Plaintiffs’ argument that
the University lacks a compelling reason to make them vaccinate when many of
Plaintiffs have “worked heroically on the front lines of healthcare through 18
months of the pandemic” and “there [is] no evidence that [they] have contributed
to the spread of COVID-19.” Op. Br. at 61-62. The Supreme Court last month
granted the government a partial stay of the district court’s order “insofar as it
precludes the Navy from considering respondents’ vaccination status in making
deployment, assignment, and other operational decisions.” Austin v. U. S. Navy
Seals 1-26, No. 21A477, 2022 WL 882559 (U.S. Mar. 25, 2022).
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       Appellate Case: 21-1414   Document: 90     Date Filed: 04/18/2022    Page: 49




contracting and spreading COVID-19 if they interact with unvaccinated patients,

coworkers, and classmates.

III.     Plaintiffs cannot establish irreparable harm.

         A plaintiff only suffers irreparable harm when the claimed injuries cannot be

adequately remedied or when complete relief cannot be granted following a

determination on the merits. Prairie Band of Potawatomi Indians v. Pierce, 253

F.3d 1234, 1250 (10th Cir. 2001). On appeal, as they did below, Plaintiffs argue

that their “loss of First Amendment Freedoms, for even minimal periods of time,

unquestionably constitutes irreparable injury.” Op. Br. at 65 (quotation omitted).

But the District Court held that Plaintiffs have failed to demonstrate a likelihood of

success on their constitutional claims, such that their asserted harm is not of a

constitutional dimension. App.Vol. VII 1674. As explained above, that conclusion

is correct.

         Ultimately, Plaintiffs cannot establish that they will suffer irreparable harm

if the September 24 Policy is not enjoined. 16 Plaintiffs’ alleged injuries are “based



16
  Plaintiffs have also not established clearly and unequivocally that enjoining the
September 1 Policy is necessary to prevent irreparable harm. App.Vol. VII 1668.
The complained-of harms relating to the September 1 Policy include taking an
indefinite administrative leave with impending termination (Plaintiff Dr. Jane Doe
1) and leave of absence from school (Plaintiff medical student John Doe 1), and
resignation in lieu of termination (Jane Doe 2). App.Vol. III 625. These alleged
                                          42
      Appellate Case: 21-1414   Document: 90     Date Filed: 04/18/2022   Page: 50




on loss of employment and professional standing or delays and is the type of harm

that is typically compensable with money damages.” Id. (citing We The Patriots,

17 F.4th at 294). This type of harm does not warrant the extraordinary remedy that

Plaintiffs seek. See We The Patriots, 17 F.4th at 294.

        Accordingly, the District Court properly denied Plaintiffs’ request for a

preliminary injunction for the additional reason that they have not shown a

likelihood of irreparable harm.

IV.     The balance of harms and public interest weigh strongly in favor of
        denying the relief requested by Plaintiffs.

        The balance of the harms and public interest factors merge when the

government is a party. Nken v. Holder, 566 U.S. 418, 435 (2009). These factors

require the Court to balance the harm to Plaintiffs of not obtaining the injunctive

relief they request against the University’s harm (and thus the harm to the public

interest) if the injunction is granted. Kobach, 840 F.3d at 755-56.

        The public interest in limiting the transmission of COVID-19 cannot be

overstated. That interest would directly suffer from the injunction Plaintiffs seek.



harms do not constitute the irreparable harm required for the disfavored injunction
Plaintiffs request. The District Court correctly determined that “Plaintiffs’ alleged
harm based on loss of employment and professional standing or delays and is the
type of harm that is typically compensable with money damages.” App.Vol. VII
1674 citing See We the Patriots, 17 F.4th at 294.
                                          43
   Appellate Case: 21-1414        Document: 90     Date Filed: 04/18/2022     Page: 51




COVID-19 has had a catastrophic impact on all aspects of life for more than two

years. On October 25, 2021, when the District Court first denied Plaintiffs’ motion

to enjoin the September 1 Policy, there were approximately 44 million cases of

COVID-19 nationwide and nearly 700,000 deaths; of those, Colorado had over

694,349 confirmed cases and approximately 8,065 confirmed deaths. App.Vol. I

241. By the time the District Court denied Plaintiffs’ renewed motion, those

numbers had increased to 48.5 million cases and nearly 780,000 deaths nationwide

and 829,437 confirmed cases and approximately 9,473 deaths in Colorado.

App.Vol. VI 1272. By all metrics, the situation was dire. See supra, pp. 12-13

(describing rates of infections, hospitalizations and death in Colorado).

        Plaintiffs argue that it is in the public interest to prevent a violation of a

constitutional right, such that the balancing of harm tips in their favor. Op. Br. at

66. This ignores that the District Court correctly held that Plaintiffs’ “asserted

harm is not of a constitutional dimension,” and that the “Plaintiffs failed to

demonstrate a likelihood of success on their constitutional claims.” App.Vol. VII

1674.

        Given the extraordinary public health crisis, the District Court correctly

ruled that public interest and the balance of the equities strongly weigh in favor of

denying the requested injunction. Far from meeting the heavy burden they are

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   Appellate Case: 21-1414      Document: 90     Date Filed: 04/18/2022     Page: 52




required to establish in order to obtain the disfavored relief they seek; Plaintiffs fail

to show how the District Court abused its discretion in concluding that “Plaintiffs

have failed to demonstrate that the public interest weighs in favor of enjoining

enforcement of the September 24 Policy.” App.Vol. VII 1674.

                                   CONCLUSION

     The District Court did not abuse its discretion in denying Plaintiffs’ motions

to enjoin the September 1 Policy and the September 24 Policy. Plaintiffs cannot

satisfy their burden—much less their heightened burden for a disfavored

injunction—to meet any of the criteria for the extraordinary relief they request. The

University respectfully requests that the Court affirm the District Court orders.

     Respectfully submitted this 18th day of April, 2022.

                                         PHILIP J. WEISER
                                         Attorney General


                                         /s/ Megan Paris Rundlet
                                         JACQUELYNN RICH FREDERICKS*
                                         First Assistant Attorney General
                                         KATHLEEN SPALDING*
                                         Senior Assistant Attorney General
                                         GRANT T. SULLIVAN*
                                         Assistant Solicitor General
                                         MEGAN PARIS RUNDLET*
                                         Senior Assistant Solicitor General
                                         Ralph L. Carr Colorado Judicial Center
                                         1300 Broadway, 10th Floor

                                           45
Appellate Case: 21-1414   Document: 90   Date Filed: 04/18/2022   Page: 53




                                 Denver, Colorado 80203
                                 Tel: (720) 508-6171
                                 kit.spalding@coag.gov;
                                 jacquelynn.richfredericks@coag.gov;
                                 grant.sullivan@coag.gov;
                                 megan.rundlet@coag.gov

                                 HERMINE KALLMAN*
                                 University of Colorado
                                 Office of University Counsel
                                 Special Assistant Attorney General
                                 1800 Grant St., Suite 700
                                 Denver, CO 80203
                                 Tel: 303 860-5691
                                 hermine.kallman@cu.edu

                                 GREGORY E. GOLDBERG*
                                 MATTHEW J. SMITH*
                                 Holland & Hart
                                 555 17th Street, Ste 3200
                                 Denver, CO 80202
                                 ggoldberg@hollandhart.com
                                 mjsmith@hollandhart.com

                                 *Counsel of Record for Defendants Board of
                                 Regents, Todd Saliman, Donald Elliman,
                                 Shanta Zimmer, Eric Mediavilla, and Ann-
                                 Michael Holland




                                   46
   Appellate Case: 21-1414    Document: 90     Date Filed: 04/18/2022   Page: 54




                        CERTIFICATE OF COMPLIANCE

      I certify that this brief complies with the typeface requirements of Fed. R.

App. P. 32 and Tenth Circuit R. 32 because it uses 14-point Times New Roman

font, a proportionally spaced typeface, and uses 13-point Times New Roman in the

two Plaintiff charts.

      This brief complies with the type-volume limitation of Fed. R. App. P.

32(a)(7)(B) and this Court’s briefing order because it contains 9,760 words,

excluding the parts exempted under Fed. R. App. P. 32(f).


                                                    /s/ Megan Paris Rundlet


                                                    Dated: April 18, 2022




                                         47
   Appellate Case: 21-1414    Document: 90     Date Filed: 04/18/2022    Page: 55




                         CERTIFICATE OF SERVICE

      This is to certify that, on this 18th day of April, 2022, I have provided

electronic service of this DEFENDANTS-APPELLEES’ RESPONSE BRIEF upon

all parties below via email through the CM/ECF system:

Peter Breen                                Joseph Brown
Michael McHale                             Theresa Sidebotham
Martin Whittaker                           Telios Law
Thomas More Society                        jbb@telioslaw.com
pbreen@thomasmoresociety.org               tls@telioslaw.com
mmchale@thomasmoresociety.org
privatrecht@gmail.com

Gregory E. Goldberg                        Hermine Kallman
Matthew J. Smith                           Office of University Counsel
Holland & Hart                             1800 Grant St, Ste 700
555 17th Street, Ste 3200                  Denver, CO 80203
Denver, CO 80202                           hermine.kallman@cu.edu
ggoldberg@hollandhart.com
mjsmith@hollandhart.com



                                                    / s/ Carmen Van Pelt




                                         48
